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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE
COMMISSION.

               Plaintiff,                          Case No. 1:21-cv-11125-LAK
       v.
                                                   NOTICE OF APPEARANCE
MEDALLION FINANCIAL CORP, et al.,

               Defendants.



TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:
       PLEASE TAKE NOTICE that Andrew Z. Michaelson of the law firm King & Spalding

LLP hereby appears on behalf of Defendants Medallion Financial Corp. and Andrew Murstein in

the above captioned matter and respectfully requests to be served with copies of all pleadings,

discovery, correspondence, and notices in this case. The undersigned is admitted to practice

before this Court.

Dated: April 2, 2025
       New York, New York                            KING & SPALDING LLP

                                                     By: /s/ Andrew Z. Michaelson
                                                        Andrew Z. Michaelson
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                                             and Andrew Murstein
